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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA CIRCUIT

CATHERINE BREEN, as Executor of the                    :
       Estate of Andrew W. Breen                       :
8922 Victoria Lane                                     :
Springfield, VA. 22151                                 :
                                                       :
         Plaintiffs                                    :
                                                       :
   v.                                                  :
                                                       :
UNITED STATES OF AMERICA                               :       Civil No.
                                                       :
Serve: Ronald C. Machen, Jr., United States            :
   Attorney for the District of Columbia               :
   555 4th Street, N.W.                                :
   Washington, D.C. 20001                              :
                                                       :
   and                                                 :
                                                       :
Serve: Eric Holder, Attorney General                   :
    of the United States of America                    :
   950 Pennsylvania Ave., N.W.                         :
   Washington, D.C. 20530                              :
                                                       :
         Defendant.                                    :

                                           COMPLAINT

                                 JURISDICTION AND PARTIES

         Plaintiff Catherine Breen, as Personal Representative of the Estate of Andrew W. Breen,

by undersigned counsel, hereby file this Complaint against the United States of America and for

her cause of action state:

         1. This action arises under the Federal Tort Claims Act, 28 U.S.C. §§ 1346(b),

2671-2680.

         2. Venue for this action is appropriately in this District pursuant to 28 U.S.C.


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§1402, as the cause of action arose in the District of Columbia.

        3. At all times relevant hereto, decedent, Andrew W. Breen (hereinafter “Mr. Breen”)

and the Plaintiff, Catherine Breen, (hereinafter “Mrs. Breen”) were a lawfully married couple,

living together as husband and wife.

        4. Mrs. Breen is the legal executor of the Estate of Andrew W. Breen, having qualified in

the Circuit Court for Fairfax County, Virginia on December 7, 2009. (Fiduciary Number FI-

2009-0002049).

        5. The medical care rendered to Mr. Breen by the medical personnel at VA Medical

Center was provided in their capacity as employees of the Department of Veterans Affairs, an

agency of the United States of America, who were acting within the scope of their employment at

all times relating to this case.

        6. If the Defendant were a private person, it would be liable to the Plaintiff in accordance

with the laws of the District of Columbia.

        7. Pursuant to 28 U.S.C. § 2675(a), the claims set forth herein was presented to the U.S.

Department of Veterans Affairs on or about January11, 2010. Six months have expired since the

filing of the claims and no final disposition of the claim has been made. Accordingly, all

administrative remedies have been exhausted.

                                   FACTUAL ALLEGATIONS

        8. Mr. Breen was initially seen in the emergency department of the VA Medical Center

in Washington, D.C. on July 23, 2009, with complaints of chest pain.

        9. Mr. Breen was examined by the medical staff, and a chest x-ray and EKG were

ordered. The chest x-ray revealed borderline cardiomegaly and the EKG was abnormal.


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        10. The medical staff recommended a stress test. However, Mr. Breen had a business

trip scheduled and decided to schedule the stress test when he returned.

        11. Upon his return from his business trip, Mr. Breen called the VA Medical Center on

August 4, 2009, requesting a cardiology consult.

        12. Mr. Breen was next seen in the emergency department of the VA Medical Center on

August 5, 2009. At that time, he was still experiencing chest pain. He was examined and a chest

x-ray and EKG were ordered. The chest x-ray revealed severe cardiomegaly and the EKG was

abnormal.

        13. Based upon Mr. Breen’s complaints and the findings on the chest x-ray and EKG,

Mr. Breen was admitted to the primary care unit at approximately 9:20 P.M. for a work-up for

atypical chest pain. A stress test was recommended and a transthoracic echocardiography (TTE)

was ordered.

        14. On August 6, 2009, at approximately 1:00 A.M., the exercise tolerance test (stress

test) was canceled.

        15. Although a cardio ECHO again was ordered at approximately 10:00 A.M. on August

6, 2009, Mr. Breen was subsequently discharged from the VA Medical Center on August 6,

2009, at approximately 11:35 A.M., without any further testing or treatment.

        16. At the time of his discharge, Mr. Breen was given discharge instructions which

indicated that the discharge diagnosis was atypical chest pain, unlikely cardiac etiology.

        17. Following his discharge, Mr. Breen went home, spent the rest of the day with his

family, ate dinner with his family, went to bed, and died in the early morning hours of August 7,

2009.


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       18. The cause of death was cardiomyopathy.

                                            COUNT I

                                     (WRONGFUL DEATH)

       19. Plaintiff incorporates the substance of the foregoing factual allegations as if fully

stated herein and further,

       20. At all times relevant hereto, the medical personnel at the VA Medical Center had a

duty to use that degree of care and skill in their care and treatment of Mr. Breen which

reasonably competent physicians and/or health care providers would use.

       21. The care and treatment rendered to Mr. Breen by the Defendant’s employees, agents,

and/or representatives breached the applicable standards of care and was negligent in that the

Defendant’s employees, agents, and/or representatives:

               (a) failed to properly evaluate Mr. Breen’s complaints of chest pain;

               (b) failed to order proper testing so as to properly evaluate Mr. Breen’s

complaints of chest pain and previously confirmed abnormal cardiac condition;

               (c) failed to order proper testing in the face of abnormal findings on chest x-ray

and EKG;

               (d) negligently canceled cardiac tests that would have diagnosed Mr. Breen’s

cardiac condition;

               (e) negligently discharged Mr. Breen without properly evaluating and diagnosing

his cardiac condition;

               (f) negligently discharged Mr. Breen without informing him of the abnormal

findings of the cardiac testing that was performed;


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               (g) negligently discharged Mr. Breen with a diagnose of atypical chest pain,

probably not cardiac related when they knew or should have known that Mr. Breen had a serious

cardiac condition that needed to be evaluated and treated;

               (h) negligently informed Mr. Breen that his chest pains were not cardiac related

when they knew or should have known that Mr. Breen had a cardiac condition that needed

further evaluation and treatment; and

               (i) other acts of negligence which may be discovered during these proceedings.

       22. As a direct and proximate result of the negligent care and treatment rendered to Mr.

Breen by the employees, agents and/or representatives of the Defendant, Mr. Breen died on

August 7, 2009.

       23. This claim arises under D.C. Code § 16-2701 et seq.

       24. The Plaintiff is the duly appointed Executrix of the decedent’s estate and as such has

the right to bring this wrongful death action pursuant to D.C. Code § 16-2702.

       25. As a result of the Defendants’ negligence as set forth herein, the Decedent’s next of

kin, heirs at law and beneficiaries have been deprived of the financial earnings and other benefits

each would have reasonably been expected to receive from the decedent had he lived, including

but not limited to care, love, attention, society, companionship, guidance, comfort, services and

contributions towards support of the decedent’s spouse and children. In addition, the Plaintiff

claims the costs of the funeral and burial expenses as well as the cost of all medical and other

related expenses incurred.

       WHEREFORE, the foregoing premises considered, Plaintiff, Catherine Breen, as

Personal Representative of the Estate of Andrew W. Breen, demands judgement against


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Defendant, United States of America, in the sum of Five Million Dollars ($5,000,000.00), plus

interest and costs.

                                             COUNT II

                                     (SURVIVAL ACTION)

       26. Plaintiffs incorporate the substance of the foregoing factual allegations as if fully

stated herein and further,

       27. At all times relevant hereto, the medical personnel of VA Medical Center had a duty

to use that degree of care and skill in their care and treatment of Mr. Breen which reasonably

competent physicians and/or health care providers would use.

       28. The care and treatment rendered to Mr. Breen by the Defendant’s employees, agents,

and/or representatives breached the standard of care and was negligent in that the Defendant’s

employees, agents, and/or representatives:

               (a) failed to properly evaluate Mr. Breen’s complaints of chest pain;

               (b) failed to order proper testing so as to properly evaluate Mr. Breen’s

complaints of chest pain and previously confirmed abnormal cardiac condition;

               (c) failed to order proper testing in the face of abnormal findings on chest x-ray

and EKG;

               (d) negligently canceled cardiac tests that would have diagnosed Mr. Breen’s

cardiac condition;

               (e) negligently discharged Mr. Breen without properly evaluating and diagnosing

his cardiac condition;

               (f) negligently discharged Mr. Breen without informing him of the abnormal


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findings of the cardiac testing that was performed;

               (g) negligently discharged Mr. Breen with a diagnose of atypical chest pain,

probably not cardiac related when they knew or should have known that Mr. Breen had a serious

cardiac condition that needed to be evaluated and treated;

               (h) negligently informed Mr. Breen that his chest pains were not cardiac related

when they knew or should have known that Mr. Breen had a cardiac condition that needed

further evaluation and treatment; and

               (i) other acts of negligence which may be discovered during these proceedings.

       29. As a direct and proximate result of the negligent care and treatment rendered to Mr.

Breen by employees, agents and/or representatives of the Defendant, Mr. Breen suffered extreme

pain, suffering, mental anguish, and serious injuries resulting in his death.

       30. This claim arises under D.C. Code, § 12-101.

       31. The Plaintiff’s decedent’s right of action for injuries prior to his death caused by the

negligent conduct of the Defendants survives in favor of Plaintiff, Catherine Breen, as duly

appointed Executrix of the Estate of Andrew W. Breen, deceased.

       32. As a direct and proximate result of the Defendant’s wrongful and negligent conduct,

the Plaintiff’s decedent, Mr. Breen, sustained bodily injuries, fear and anticipation of impending

death, mental anguish prior to his death, and severe and conscious pain and suffering, medical

expenses, financial losses and future loss of earnings.

       WHEREFORE, the foregoing premises considered, Plaintiff, Catherine Breen, as

Personal Representative of the Estate of Andrew W. Breen, demands judgement against

Defendant, United States of America, in the sum of Three Million Dollars ($3,000,000.00), plus


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interest and costs.

                                      Respectfully submitted,



                                       /s/ Gerald I. Holtz
                                      Gerald I. Holtz       221812
                                      611 Rockville Pike, Suite 225
                                      Rockville, MD. 20852
                                      (301) 610-0777

                                      Attorney for Plaintiff




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